Case 1:08-cr-00027-HYJ           ECF No. 117, PageID.207             Filed 05/22/08    Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                  Case No. 1:08-cr-27
                                    )
v.                                  )                  Honorable Robert Holmes Bell
                                    )
ROBERTO MOTA,                       )
                                    )
                  Defendant.        )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 22, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Roberto Mota entered a plea of guilty to count 2 of the First Superseding

Indictment charging him with conspiracy to distribute and possess with intent to distribute 1,000

kilograms or more of marijuana, in violation of 21 U.S.C. §§ 846, 841(a)(1), in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
Case 1:08-cr-00027-HYJ            ECF No. 117, PageID.208           Filed 05/22/08      Page 2 of 2




                  I therefore recommend that defendant's plea of guilty to count 2 of the First

Superseding Indictment be accepted, that the court adjudicate defendant guilty of the charge, and that

the written plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: May 22, 2008                             /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR .R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).
